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 1
   MARC ROSENBERG
 2 LEE SMART, P.S., INC.
   1800 One Convention Place
 3 701 Pike Street
   Seattle, WA 98101-3929
 4 (206) 624-7990
   Attorneys for Defendant
 5

 6

 7                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON AT
 8
     AARON MILLER and AUDRIE
 9   MILLER,
                                                 No. CV-10-425-EFS
10                 Plaintiffs,
                                                 NOTICE OF REMOVAL
11         vs.
                                                 [CLERK’S ACTION REQUESTED]
12   BISHOP, WHITE, MARSHALL
     & WEIBEL, P.S.,
13
                  Defendant.
14

15 TO: THE CLERK OF THE COURT
       UNITED STATES DISTRICT COURT
16     EASTERN DISTRICT OF WASHINGTON AT SPOKANE
17
           Defendant Bishop, White, Marshall & Weibel, PS, by its undersigned
18
     attorneys, states:
19
           1.     The above action was filed on December 3, 2010, and is pending in
20
     the Superior Court of the State of Washington for Spokane County, under Cause
21
     No. 0-2-05069-2. Defendant was served with the Summons and Complaint on
22
     November 5, 2010.
23
           3.     Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is filed
24
     within thirty (30) days of the filing and service of the Summons and Complaint.
25

            OF REMOVAL - 1
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 1           4.   Plaintiffs Aaron and Audrie Miller are individuals and allege that they
 2   reside in Spokane, Washington. They have alleged violations of the federal Fair
 3   Debt Collection Practices Act, 15 U.S.C. § 1692. Therefore, this Court has federal
 4   question jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §
 5   1331.
 6           5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1441(b)-(c), the above-
 7   captioned lawsuit may be removed to this Court. This Court is a District Court of
 8   the United States for the district and division embracing the place where the state
 9   court action is pending, and is therefore the appropriate Court for removal pursuant
10   to 28 U.S.C. §1441.
11

12           DATED this December 6, 2010.
13
                                           LEE SMART, P.S., INC.
14

15                                         By: s/ Marc Rosenberg
                                             Marc Rosenberg, WSBA No. 31034
16
                                             Of Attorneys for Defendant
17                                           Bishop, White, Marshall & Weibel, P.S.
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     CLERK’S ACTION REQUESTED] - 2
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